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                          UNITED STATES DISTRICT COURT FOR
                            THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION
________________________________________________
                                                         )
MARK MILLER, MICHELE GANGNES,                            )
SCOTT COPELAND, LAURA PALMER,                            )
TOM KLEVEN, ANDY PRIOR,                                  )
AMERICA’S PARTY OF TEXAS,                                )
CONSTITUTION PARTY OF TEXAS,                             )
GREEN PARTY OF TEXAS and                                 )
LIBERTARIAN PARTY OF TEXAS,                              )
                                                         )
                        Plaintiffs,                      )
                                                         )
                                v.                       ) Civil No. 1:19-cv-00700-RP
                                                         )
JOHN OR JANE DOE, in his or her official capacity as the )
Secretary of State of the State of Texas, and            )
JOSE A. “JOE” ESPARZA, in his official capacity as the )
Deputy Secretary of State of the State of Texas,         )
                                                         )
                        Defendants.                      )
________________________________________________)


         RULE 7.1 CORPORATE DISCLOSURE STATEMENT OF PLAINTIFF
                      CONSTITUTION PARTY OF TEXAS


       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for

Plaintiffs hereby certifies that Plaintiff Constitution Party of Texas is a 501(c)(3) corporation, that

it has no parent corporation, and that no publicly held corporation holds 10% or more of its stock.




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Dated: September 9, 2019                         Respectfully submitted,




Oliver Hall                                      David P. Whittlesey
Pro hac vice                                     State Bar No. 00791920
Center for Competitive Democracy                 SHEARMAN & STERLING LLP
P.O. Box 21090                                   111 Congress Avenue, Suite 1700
Washington, DC, 20009                            Austin, TX 78701
Email: oliverhall@competitivedemocracy.org       Email: david.whittlesey@shearman.com
Tel: +1 (202) 248-9294                           Tel: +1 (512) 647-1900
                                                 Fax: +1 (512) 647-1899

                                                 Christopher Ryan
                                                 Pro hac vice
                                                 Michael P. Mitchell
                                                 Pro hac vice
                                                 Anna Stockamore
                                                 Pro hac vice
                                                 SHEARMAN & STERLING LLP
                                                 401 9th St. N.W., Suite 800
                                                 Washington, D.C. 20004
                                                 Email: cryan@shearman.com
                                                        michael.mitchell@shearman.com
                                                        anna.stockamore@shearman.com
                                                 Tel: +1 (202) 508-8000
                                                 Fax: +1 (202) 508-8001

                                                 Attorneys for Plaintiffs




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